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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

BELCALIS MARLENIS ALMÁNZAR,

                          Plaintiff,
        v.                                       Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE and KEBE
STUDIOS LLC,
                Defendants.


                     PLAINTIFF’S MOTION FOR
               LEAVE TO FILE DOCUMENTS UNDER SEAL

      Pursuant to Fed. R. Civ. P. 5.2(d) and 26(c), the parties’ Consent Protective

Order (ECF No. 53), and Section II.J. to Appendix H of this Court’s Local Rules,

Plaintiff Belcalis Marlenis Almánzar hereby moves this Court through her

undersigned counsel for an order permitting Plaintiff to file certain documents

under seal, as set forth in the proposed order submitted herewith. This motion is

based on the accompanying memorandum of law and the record in this case.

Dated: February 8, 2021                Respectfully submitted,

                                       /s/ W. Andrew Pequignot
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                            Attorneys for Plaintiff




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                          CERTIFICATE OF SERVICE
      I hereby certify that on February 8, 2021, I electronically filed the foregoing

PLAINTIFF’S MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

together with the supporting documents with the Clerk of the Court using the

CM/ECF system, which will automatically send email notification of such filing to

all of the attorneys of record.


                                       /s/ W. Andrew Pequignot
                                       W. Andrew Pequignot
